Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 1of36 PagelD 108

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE, INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

wm Ss HS eww we

Summons in a Civil Action

TO: Gary Gensler, in his official capacity as Chair of the Securities and Exchange Commission

100 F. Street NE
Washington , DC 20549

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiffs attorney, whose name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500

Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 2 of 36 PagelD 109

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

was received by me on (date)

[ Ipersonally served the summons on the individual at (place)

on (date) ; or

[ I left the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document19 Filed 04/29/24 Page 3of36 PagelD 110
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

we YH eww we

Summons in a Civil Action
TO: Gary Gensler, in his official capacity as Chair of the Securities and Exchange Commission

These copies of the summons and complaint are to be either:
(1) delivered to the United States Attorney for the Northern District of Texas or to an assistant
United States attorney or clerical employee whom the United States Attorney has designated in
writing filed with the Clerk of the United States District Court for the Northern District of Texas;
or

(2) send by registered or certified mail to the civil-process clerk at the Office of the United States
Attorney for the Northern District of Texas (801 Cherry Street, Suite 1700, Fort Worth, TX
76102-6897)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -- or
60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an answer
to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP
100 Throckmorton Street, Suite 1500

Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 4of36 PagelD 111

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
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This summons for (name of individual and title, if any)

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on (date) ; or

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on (date) , and mailed a copy to the individual's last known address; or

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by law to accept service of process on behalf of (name of organization)

on (date) > or
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[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page5of36 PagelD 112
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

wm eS HS eww wv

Summons in a Civil Action

TO: Gary Gensler, in his official capacity as Chair of the Securities and Exchange Commission

(These copies of the summons and complaint are to be sent by registered or certified mail to the
Attorney General of the United States at 950 Pennsylvania Avenue, NW, Washington, DC
20530-0001.)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) --or
60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure.
The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500
Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 6of36 PagelD 113

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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on (date) ; or

[ I left the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 7of36 PagelD 114

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

wm Ss HS eww we

GARY GENSLER et al.

Defendant

Summons in a Civil Action

TO: Securities and Exchange Commission

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the

plaintiff's attorney, whose name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP
100 Throckmorton Street, Suite 1500

Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief

demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 8of36 PagelD 115

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

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[ Ipersonally served the summons on the individual at (place)

on (date) ; or

[ I left the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 9of36 PagelD 116
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.
Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

we YH eww we

Summons in a Civil Action

TO: Securities and Exchange Commission

These copies of the summons and complaint are to be either:

(1) delivered to the United States Attorney for the Northern District of Texas or to an assistant United
States attorney or clerical employee whom the United States Attorney has designated in writing
filed with the Clerk of the United States District Court for the Northern District of Texas;

or

(2) send by registered or certified mail to the civil-process clerk at the Office of the United States
Attorney for the Northern District of Texas (801 Cherry Street, Suite 1700, Fort Worth, TX
76102-6897)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -- or
60 days if you are the United States or a United States agency, or an officer or employee of the United
States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500
Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document19 Filed 04/29/24 Page 10o0f36 PagelD 117

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

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on (date) ; or

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, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 11of36 PagelD 118
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

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Summons in a Civil Action

TO: Securities and Exchange Commission

(These copies of the summons and complaint are to be sent by registered or certified mail to the
Attorney General of the United States at 950 Pennsylvania Avenue, NW, Washington, DC
20530-0001.)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
--or 60 days if you are the United States or a United States agency, or an officer or employee of
the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500
Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 12 of 36 PagelD 119

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

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on (date) ; or

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, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 13 o0f 36 PagelD 120

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE, INC.
Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

wm Ss HS eww we

GARY GENSLER et al.

Defendant

Summons in a Civil Action

TO: Caroline A. Crenshaw

Commissioner of the Securities and Exchange Commission
100 F. Street NE
Washington, DC 20549

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiffs attorney, whose name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500

Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document19 Filed 04/29/24 Page 14o0f36 PagelD 121

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

was received by me on (date)

[ Ipersonally served the summons on the individual at (place)

on (date) ; or

[ I left the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document19 Filed 04/29/24 Page 15of36 PagelD 122
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

we YH eww we

Summons in a Civil Action
TO: Caroline A. Crenshaw, Commissioner of the Securities and Exchange Commission

These copies of the summons and complaint are to be either:
(1) delivered to the United States Attorney for the Northern District of Texas or to an assistant
United States attorney or clerical employee whom the United States Attorney has designated in
writing filed with the Clerk of the United States District Court for the Northern District of Texas;
or
(2) send by registered or certified mail to the civil-process clerk at the Office of the United

States Attorney for the Northern District of Texas (801 Cherry Street, Suite 1700, Fort Worth,
TX 76102-6897)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) --
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP
100 Throckmorton Street, Suite 1500

Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 16 of 36 PagelD 123

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

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on (date) , and mailed a copy to the individual's last known address; or

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by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 17 of 36 PagelD 124
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.
Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

wm eS HS eww wv

Summons in a Civil Action

TO: Caroline A. Crenshaw, Commissioner of the Securities and Exchange Commission

(These copies of the summons and complaint are to be sent by registered or certified mail to the
Attorney General of the United States at 950 Pennsylvania Avenue, NW, Washington, DC
20530-0001.)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)--or
60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure.
The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500
Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 18o0f36 PagelD 125

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

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on (date) ; or

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on (date) , and mailed a copy to the individual's last known address; or

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by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 19 of 36 PagelD 126

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE, INC.
Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

wm Ss HS eww we

Summons in a Civil Action

TO: Jaime Lizaérraga
Commissioner of the Securities and Exchange Commission

100 F. Street NE
Washington, DC 20549

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiffs attorney, whose name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500

Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 200f 36 PagelD 127

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

was received by me on (date)

[ Ipersonally served the summons on the individual at (place)

on (date) ; or

[ I left the summons at the individual's residence or usual place of abode with (name)

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on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 21 0f 36 PagelD 128
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

we YH eww we

Summons in a Civil Action
TO: Jaime Lizarraga, Commissioner of the Securities and Exchange Commission

These copies of the summons and complaint are to be either:

(1) delivered to the United States Attorney for the Northern District of Texas or to an assistant

United States attorney or clerical employee whom the United States Attorney has designated in

writing filed with the Clerk of the United States District Court for the Northern District of Texas;
or

(2) send by registered or certified mail to the civil-process clerk at the Office of the United

States Attorney for the Northern District of Texas (801 Cherry Street, Suite 1700, Fort Worth,
TX 76102-6897)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) --
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP
100 Throckmorton Street, Suite 1500

Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document19 Filed 04/29/24 Page 22 of 36 PagelD 129

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

was received by me on (date)

[ Ipersonally served the summons on the individual at (place)

on (date) ; or

[ I left the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 23 of 36 PagelD 130
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

wm eS HS eww wv

Summons in a Civil Action

TO: Jaime Lizarraga, Commissioner of the Securities and Exchange Commission

(These copies of the summons and complaint are to be sent by registered or certified mail to the
Attorney General of the United States at 950 Pennsylvania Avenue, NW, Washington, DC
20530-0001.)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)--or
60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure.
The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500
Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 24o0f 36 PagelD 131

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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on (date) ; or

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, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 25 of 36 PagelD 132

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE, INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

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GARY GENSLER et al.

Defendant

Summons in a Civil Action

TO: Mark T. Uyeda

Commissioner of the Securities and Exchange Commission
100 F. Street NE
Washington, DC 20549

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiffs attorney, whose name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500

Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 26 of 36 PagelD 133

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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on (date) , and mailed a copy to the individual's last known address; or

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by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 27 of 36 PagelD 134
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

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Summons in a Civil Action
TO: Mark T. Uyeda, Commissioner of the Securities and Exchange Commission

These copies of the summons and complaint are to be either:

(1) delivered to the United States Attorney for the Northern District of Texas or to an assistant

United States attorney or clerical employee whom the United States Attorney has designated in

writing filed with the Clerk of the United States District Court for the Northern District of Texas;
or

(2) send by registered or certified mail to the civil-process clerk at the Office of the United

States Attorney for the Northern District of Texas (801 Cherry Street, Suite 1700, Fort Worth,
TX 76102-6897)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) --
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP
100 Throckmorton Street, Suite 1500

Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 28 of 36 PagelD 135

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

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by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 29 of 36 PagelD 136
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

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Summons in a Civil Action

TO: Mark T. Uyeda, Commissioner of the Securities and Exchange Commission

(These copies of the summons and complaint are to be sent by registered or certified mail to the
Attorney General of the United States at 950 Pennsylvania Avenue, NW, Washington, DC
20530-0001.)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)--or
60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure.
The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500
Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 30 0f 36 PagelD 137

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
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on (date) , and mailed a copy to the individual's last known address; or

[ Iserved the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 31 0f 36 PagelD 138

AO 440 (Rev. 12/09) Summons in a Civil Action

CONSENSYS SOFTWARE, INC.

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Plaintiff

Vv. Civil Action No. 4:24-cv-00369-O

wm Ss HS eww we

GARY GENSLER et al.

TO:

Defendant
Summons in a Civil Action

Hester M. Peirce

Commissioner of the Securities and Exchange Commission
100 F. Street NE
Washington, DC 20549

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received

it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiffs attorney, whose name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500
Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief

demanded in the complaint. You also must file your answer or motion with the court.

DATE:

CLERK OF COURT

Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 32 of 36 PagelD 139

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
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[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 33 of 36 PagelD 140
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.

Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

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Summons in a Civil Action
TO: Hester M. Peirce, Commissioner of the Securities and Exchange Commission

These copies of the summons and complaint are to be either:

(1) delivered to the United States Attorney for the Northern District of Texas or to an assistant

United States attorney or clerical employee whom the United States Attorney has designated in

writing filed with the Clerk of the United States District Court for the Northern District of Texas;
or

(2) send by registered or certified mail to the civil-process clerk at the Office of the United

States Attorney for the Northern District of Texas (801 Cherry Street, Suite 1700, Fort Worth,
TX 76102-6897)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) --
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP
100 Throckmorton Street, Suite 1500

Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 34o0f 36 PagelD 141

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
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[other (specify)
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Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 35 of 36 PagelD 142
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

CONSENSYS SOFTWARE INC.
Plaintiff
Vv.

Civil Action No. 4:24-cv-00369-O

GARY GENSLER et al.

Defendant

wm eS HS eww wv

Summons in a Civil Action

TO: Hester M. Peirce, Commissioner of the Securities and Exchange Commission

(These copies of the summons and complaint are to be sent by registered or certified mail to the
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20530-0001.)

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60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure.
The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Brant C. Martin/K. Todd Phillips/Stafford P. Brantley
Wick Phillips Gould & Martin, LLP

100 Throckmorton Street, Suite 1500
Fort Worth, TX 76102

If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

DATE:
Signature of Clerk or Deputy Clerk
Case 4:24-cv-00369-O Document 19 Filed 04/29/24 Page 36 of 36 PagelD 143

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:24-cv-00369-O

PROOF OF SERVICE
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on (date) , and mailed a copy to the individual's last known address; or

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by law to accept service of process on behalf of (name of organization)

on (date) > or
[ Ireturned the summons unexecuted because ; or
[other (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
